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                                      UNITED STATES DISTRICT COURT

                                           DISTRICT OF MINNESOTA


Jamere Lewis

Plaintiff

vs.                                                               MOTION FOR VOLUNTARY
                                                                        DIMISSAL
Equifax Information Services, LLC;
Experian Information Solutions, Inc.;                            Case No: 0:22-cv-00407-PJS-TNL
Navient Solutions, LLC obo US Department
of Education;
Trans Union, LLC;

Defendants



               Comes now, Jamere Lewis, the above-captioned Plaintiff, as and for his Motion for

      Voluntary Dismissal pursuant to Minn. R. Civ. P. 41(a)(2), alleges and states as follows:


                                                      I.

                 That on February 28th, Plaintiff, through his attorney, discussed the matter with, Eric

      Barton, attorney for Defendant, Equifax Information Services, LLC.

                                                      II.

            That after the above-referenced discussion, Defendant provided all requested documents and

      other relevant information in order for Plaintiff to determine whether Defendant was liable for

      any violations as alleged in Plaintiff’s complaint.

                                                     III.

            That upon further investigation, it has been determined that, at this juncture, voluntary

      dismissal of Defendant is appropriate.



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       WHEREFORE, the Plaintiff hereby respectfully request that her claims Equifax

Information Services, LLC be voluntarily dismissed without prejudice.




Dated: 3/2/22                       MINNESOTA LEGAL ASSISTANCE

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